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UNITED STATES FEDERAL COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

INRE:

BISASOR, ET AL Bankruptcy Appeal

Case No.; lS-cv-l3813 and l$-cv-l3964

 

REQUEST F()R EXTENSION OF TIME ON ENTRY OF SETTLEMENT ORDER OF

DISMISSAL

I, Andre Bisasor, the debtor-appellant in the above captioned case, hereby request a 60-day of

extension of time for the entry of the settlement order of dismissal. Grounds are as follows:

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The deadline for entry of the settlement order of dismissal runs on or about the date of
December 16, 2016.

As this Court is aware, the parties have agreed to settle this case and have fully reachedfsigned

a settlement agreement

. The agreement is still waiting approval from the bankruptcy court due to a delay based on

requirements from the trustee including certain adjustments that took into account certain
considerations of the estate
The trustee has now approved the settlement and will be shortly filing a motion to approve the

settlement

. This should take another 30 to 45 days based on the time required to allow for any objections

and appeals to obj ections.

Therei`ore, I ask the court for another final 60 days of extension of time. If the process for
bankruptcy court approval occurs sooner than 60 days, I will inform this court immediately
There is no reason to believe that this process will require more time than requested and so l

anticipate this will be the absolute last request for extension of time.

WHEREFORE, l hereby humny request this Honorable Court grant rny request and/or other relief that

the Court deemsjust and proper.

Dated:

Respectf’ully submitted,
By The Debtor

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December 16_. 2016

 

